        CASE 0:20-cr-00203-PAM-KMM Doc. 26 Filed 10/13/20 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Criminal No. 20-203 (PAM/KMM)


United States of America,

                           Plaintiff,
                                                           MOTION FOR RELEASE
v.                                                         OF BRADY MATERIALS

Francisco Manuel Rodriguez Valenzuela,

                           Defendant.


      Defendant Francisco Manuel Rodriguez Valenzuela, by and through his

attorney, Steven J. Wright, respectfully moves the Court, pursuant to the

authority of Brady v. Maryland, 373 U.S. 83 (1963); Miller v. Pate, 386 U.S. 1 (1967);

Giles v. Maryland, 386 U.S. 66 (1967); and Moore v. Illinois, 408 U.S. 786 (1972), for

an order compelling disclosure of any evidence in the possession of the

prosecution or any of its agents, or other evidence the existence of which is

known, or by the exercise of due diligence may become known, to the

prosecution, which may be favorable to Defendant, or which could reasonably

weaken or affect any evidence that may be introduced against Defendant, or

which is otherwise relevant to the subject matter of this case and may in any

manner aid Defendant in the investigation or preparation of his case for trial or

sentencing. This disclosure is to be made without regard to whether the evidence
       CASE 0:20-cr-00203-PAM-KMM Doc. 26 Filed 10/13/20 Page 2 of 3




to be disclosed may be admissible at trial, and it should include but is not limited

to the following:

      1.    Any identification of persons other than the defendant by
            eyewitnesses to the crime.

      2.    Any failure to identify Defendant by any eyewitness to the crime.

      3.    Any statements of any witnesses, whether indicted or not, that in
            any way exculpate Defendant.

      4.    Any statements of any witnesses, whether indicted or not, that
            contradict statements of other witnesses.

      5.    Any reports of interviews relating to Nos. 3 or 4.

      6.    Any fingerprints, handwriting, or other scientific evidence that was
            not identified with Defendant.

      7.    Any items seized from individuals not charged that tend to identify
            those individuals with the commission of elements of the offenses
            charged in the indictment of the crime.

      8.    Any prior convictions, and all documents and reports reflecting the
            circumstances of and compensation for, prospective government
            witnesses.

      9.    Any offers or promises made to prospective government witnesses
            to induce their cooperation against the defendants, whether or not
            the government intends to call those persons as witnesses.

      10.   A copy of all videotapes and audiotapes of events relating to the
            offenses charged in the indictment, in both their original and
            adulterated forms.




                                         2
       CASE 0:20-cr-00203-PAM-KMM Doc. 26 Filed 10/13/20 Page 3 of 3




                                         Respectfully submitted,


Dated: October 11, 2020                  /s/ Steven J. Wright
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                                         (612) 669-8280

                                         Attorney for Defendant




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